                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

ROGER TODD,                                        )
                                                   )
               Plaintiff,                          )
                                                          Case No. 2:19-cv-00085-JMS-DLP
v.                                                 )
                                                   )
OCWEN LOAN SERVICING, INC., and                    )
DEUTSCHE BANK NATIONAL TRUST CO.,                  )
as Trustee for NovaStar Mortgage Funding           )
Trust, Series 2007-1,                              )
                                                   )
               Defendant.
                                                   )

DEFENDANT OCWEN LOAN SERVICING, LLC’S MOTION TO RECONSIDER THE
  MAGISTRATE JUDGE’S JANUARY 30, 2020 ORDER REGARDING THE RISK
                    CONVERGENCE REPORTS

       Defendant Ocwen Loan Servicing, LLC (“Defendant”), incorrectly named in the caption

as Ocwen Loan Servicing, Inc., through its undersigned counsel, respectfully requests that the

Court reconsider its January 30, 2020 order, in which it ordered Defendant to produce “all” Risk

Convergence Reports from January 1, 2014 through August 31, 2016. In support, Defendant

states as follows:

                                      INTRODUCTION

       The Court entered an order on January 30, 2020 order, in which it ordered Defendant to

produce “all” Risk Convergence Reports from January 1, 2014 through August 31, 2016. It did

so despite the fact that these reports reference issues like “Identifying Title issues related to

Outstanding Lien, Legal Description, Chain of Title, Encroachment, etc.”; “Flood Zone

Validation”; “Third Party Liens in Texas”; “Skip Tracing Flag Issues”; “Hawaii Mediation

Correspondence”; “Ability to rapidly shift printers”; “Titling of Custodial Bank Accounts”; “VT

Mediation Process”; “Nevada Mediation Requirement”; “Short Sale Workflow Queues”; “Flood

Policies on Multiple Structures”; “Condominium Master Policies Review”; “W-9 Form


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Completion by Contractors”; “Anti Money Laundering Training”; and “Spanish Language on

Demand Letters.” These issues have no relation to Plaintiff’s claims and have no bearing on

Defendant’s liability. In fact, it is difficult to imagine any connection whatsoever.

       This is a simple case. It is not a class action. It involves a single plaintiff and a single

mortgage loan. It relates to Defendant’s alleged wrongful servicing of Plaintiff’s mortgage loan.

In fact, Judge Jane Magnus-Stinson, in denying Plaintiff’s motion to consolidate cases, explained

that the “[t]he gist of the narrative is that Mr. Todd completed a Chapter 13 bankruptcy

proceeding, and thereafter Ocwen engaged in practices that violated the law, including charging

improper fees, misapplying payments, mishandling funds, increasing payments or balances owed

without explanation or notice, attempting to collect amounts not actually owed, failing to

respond to requests for information or to correct errors, failing to disclose information or provide

required notices, and failing to provide a proper accounting of the payment history.” Court’s

February 6, 2020 Order, Dkt. 120 at 2.

       Despite the above limited issues and simplicity of this case, Plaintiff has repeatedly

engaged in wasteful, irrelevant, and disproportionate discovery. This includes Plaintiff’s request

that Defendant produce “all Risk Convergence Reports created between January 1, 2014 and

August 31, 2016” regardless of their content. The reports Plaintiff requests reference issues

and/or potential issues regarding Defendant’s entire servicing operations, including issues that

have nothing to with this case (as explained above). A plain reading of the requested Risk

Convergence Reports confirms this. Thus, while Defendant respects the Court’s January 30,

2020 order, it respectfully asks the Court to reconsider the portion of that order that ordered

Defendant to produce “all Risk Convergence Reports”—including those entirely unrelated to

Plaintiff’s claims and the mortgage servicing conduct at issue in this case. Champion Pro



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Consulting Group v. Impact Sports Football, Inc., 2014 U.S. Dist. LEXIS 165825, *10

(M.D.N.C. November 26, 2014) (“a request for all documents relating to a subject is usually

subject to criticism as overbroad since . . . all documents relate to others in some remote fashion.

Such a request unfairly places the onus of production on the recipient of the request and not

where it belongs—upon the person who drafted such a sloppy request.”).

       Defendant offers to send to the Court one report (or more) so it can view it (them) while

considering whether to require production of the entire document (and other ones like it).

       RELEVANT BACKGROUND AND DISCOVERY CONDUCTED TO DATE

       At the onset of the case, and before Defendant answered Plaintiff’s first amended

complaint, Plaintiff filed a motion in which he improperly asked the Court to take judicial notice

of certain settlements Defendant entered into with various state and federal regulators. This

necessitated Defendant having to incur the time and expense in opposing such motion (which

bordered on frivolous). In fact, in denying Plaintiff’s motion, Judge Magnus-Stinson stated as

follows: “[n]o authority (and certainly none offered by Mr. Todd, who elected not to file a reply)

suggests that a court may or should entertain a freestanding request to take judicial notice absent

a ripe dispute between the parties (such as a motion touching on the substance of a claim or

defense) or in preparation for trial, when the parties’ claims and defenses must be pared down for

presentation to the jury.” Court’s June 25, 2019 Order, Dkt. 33 at 2. Judge Magnus-Stinson

further explained that “[c]ollateral motions waste the Court’s time. Except for evidentiary

motions preparatory for trial, requests for judicial notice should be made in briefs filed in support

of merits-advancing motions. Otherwise, they simply divert scarce judicial resources, distract

from the merits, and risk an advisory opinion that would have no value unless and until the

judicially-noticed evidence is relied upon by a party.” Court’s June 25, 2019 Order, Dkt. 33 at 2.



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       More recently, Plaintiff moved to consolidate this case with another case Plaintiff’s

counsel (not Plaintiff) has against Defendant in this district. This again necessitated Defendant

having to incur the time and expense in opposing such a motion (which bordered on frivolous).

On February 6, 2020, Judge Magnus-Stinson denied Plaintiff’s motion.              In doing so, she

explained that “the differences between the cases are such that consolidation would not serve the

interests of judicial economy and instead would create confusion and possibly result in prejudice

to the litigants Todd [i.e., the instant case].” Court’s February 6, 2020 Order, Dkt. 120 at 6.

       Unfortunately, Plaintiff’s wasteful motion practice did not end with the above. Plaintiff

also filed a motion to compel asking the Court to order Defendant to search for and produce

certain emails. Yet—Plaintiff never issued any request for production pursuant to Rule 34 of the

Federal Rules of Civil Procedure requesting the emails he asked the Court to compel Defendant

to search for and produce. Despite this, Defendant still had to incur the time and expense to

oppose Plaintiff’s motion. The Court denied Plaintiff’s motion with respect to the purportedly

requested emails on January 30, 2020. The Court explained that “it reviewed the cited Requests

for Production, Nos. 22, 28, 29, 30, 31, 38, and 39, and concludes that the Plaintiff’s purported

request for email correspondence related to the eight remaining search terms does not exist.”

Courts’ January 30, 2020 Order, Dkt. 114 at 17. The Court also explained that “Defendant

correctly points out that the Plaintiff has not established the relevance of the requested email

correspondence with these search terms.” Id. at 18.

       Similar to the above mentioned wasteful motion practice, Plaintiff has regularly engaged

in wasteful discovery that is not relevant to the claims or defenses in this matter nor proportional

to the needs of this case. For instance, Plaintiff improperly subpoenaed Defendant’s parent

company’s former chief executive officer for deposition. This necessitated Defendant having to



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incur the cost of filing a motion for protective order to prevent the deposition (after Plaintiff’s

counsel refused to withdraw the subpoena after several “meet and confers”). The Court granted

Defendant’s motion on December 13, 2019 and prevented the deposition. Court’s December 13,

2019 Order, Dkt. 84. The Court explained that the “Plaintiff has yet to take a deposition in this

case, but desires to start that process at the top of the food chain with the former CEO of the

Defendant’s parent company.” Id. at 7. The Court also correctly found that “Plaintiff seeks to

broaden the scope of this case by referring to other nationwide litigation that involves Defendant

Ocwen or its related companies; what the Plaintiff forgets, however, is that this case is limited to

a single-plaintiff consumer protection matter regarding the handling of Mr. Todd’s mortgage

loan. This is not a nationwide collective action . . .” Id.

        The non-party discovery did not stop with Plaintiff’s improper attempt to subpoena

Defendant’s parent company’s former chief executive officer—far from it. Plaintiff has issued

an additional 15 subpoenas on non-parties, including three subpoenas on non-party Altisource

Solutions, Inc. (“Altisource”) (and Plaintiff’s counsel indicated a fourth was coming). At least

two of these non-parties (i.e., The Stone Turn Group1 and Altisource) engaged in their own

counsel to respond to Plaintiff’s subpoenas. The rest—undoubtedly—had to spend countless

employee time and effort in having to respond to Plaintiff’s subpoenas, many of which seek

information not relevant to the claims or defenses in this matter or proportional to the needs of

this case.

        Notably, in one of his subpoenas to Altisource, Plaintiff requested that Altisource

produce and/or search for the same emails that were the subject of his above mentioned motion




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  The Stone Turn Group is the subject of a pending motion for protective order pending before
the Court.

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to compel.   To refresh, the Court denied Plaintiff’s motion holding that Plaintiff “has not

established the relevance of the requested email correspondence with these search terms.”

Courts’ January 30, 2020 Order, Dkt. 114 at 17.

       Plaintiff’s abuse of the discovery process does not stop with the above mentioned non-

party discovery. He also has abused the process with respect to party discovery. Plaintiff has

issued two sets of interrogatories, four sets of requests for production, and nine sets of requests

to admit. Defendant has timely responded to all requests (except for those whose responses are

not yet due). And, despite questioning the relevancy of some of the discovery sought, Defendant

largely complied with Plaintiff’s requests. In fact, Defendant produced approximately 2,500

documents, along with call logs and approximately 35 call recordings.           Plaintiff has also

indicated he intends to seek to depose at least seven current or former employees of Defendant.

       The above mentioned level of discovery is more akin to that conducted in class actions—

not cases involving a single plaintiff and single mortgage loan. To be sure, discovery has

become the centerpiece of this litigation because of its burden and expense (and Plaintiff’s

continuous effort to engage in irrelevant, wasteful, and unnecessary discovery). Honorable Doris

L. Pryor cautioned against exact type of discovery in Trupp v. Roche Diagnostics Corp. 2019

U.S. Dist. LEXIS 87764, *4-5 (S.D. Ind. 2019) (“[d]iscovery must hew closely to matters

specifically described in the complaint lest discovery, because of its burden and expense, become

the centerpiece of litigation strategy” and explaining that “Federal Rule 26(b), describing the

scope and limits of discovery, was amended effective December 1, 2015, to once again protect

against over-discovery and to emphasize judicial management of the discovery process”). Thus,

when Plaintiff requested that Defendant produce “all Risk Convergence Reports created between




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January 1, 2014 and August 31, 2016” without limiting his request to portions of the reports that

have any relation to the mortgage servicing issues involved in this case, Defendant objected.

        Against the above backdrop, Defendant respectfully requests that the Court reconsider its

January 30, 2020 order, in which it ordered Defendant to produce “all Risk Convergence

Reports.”

                                     LEGAL STANDARD

        It is well established that courts have the inherent power to reconsider interlocutory

orders. Fisher v. Nat’l R.R. Passenger Corp., 152 F.R.D. 145, 149 (S.D. Ind. 1993). In fact,

courts “practically [have] unbridled discretion . . . to reconsider a previous interlocutory

order”—unlike reconsideration of a final judgment, which must meet the requirements of Federal

Rules of Civil Procedure 59 or 60.2        Fisher, 152 F.R.D. at 149; see also Spencer Cnty.

Redevelopment Comm’n v. AK Steel Corp., 2011 U.S. Dist. LEXIS 7985, *3 (S.D. Ind. 2011).

Relevant here, magistrate judges have the ability to review their own orders. Cox v. Sherman

Capital LLC, 12-cv-01654, Dkt. 300 (Honorable Magistrate Judge Mark J. Dinsmore

reconsidered his own discovery order and granted the defendant’s motion to reconsider in part

and denied it in part).

        On a motion to reconsider, the court can “correct manifest errors of law or fact or present

newly discovered evidence.” Stamatio v. Hurco Companies, Inc., 892 F. Supp. 214, 215 (S.D.

Ind. 1995) (quoting Publishers Resource, Inc. v. Walker–Davis Publications, Inc., 762 F.2d 557,

561 (7th Cir. 1985). Thus, where “the Court has patently misunderstood a party, or has made a

decision outside the adversarial issues presented to the Court by the parties, or has made an error




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 Courts “always has the power to modify earlier orders in a pending case without relying on
Rule 60(b).” Fisher, 152 F.R.D. at 149.

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not of reasoning but of apprehension . . . .[,]” the court appropriately may grant a motion for

reconsideration. Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191 (7th

Cir. 1990); Spencer Cnty. Redevelopment Comm’n v. AK Steel Corp., 2011 U.S. Dist. LEXIS

7985 (S.D. Ind. 2011) (same). “Not only is a motion to reconsider an allowable method of

reviewing a prior order, it is the most appropriate and advantageous method of seeking relief

from an interlocutory order for a party to pursue.” Fisher, 152 F.R.D. at 149.

                                         ARGUMENT

       I.      “All” Risk Convergence Reports and “All” Content in Such Reports Are Not
               Relevant.

       Rule 26 of the Federal Rules of Civil Procedure permits the discovery of nonprivileged

matters that are relevant to a party’s claim or defense and proportional to the needs of a case,

considering the importance of the issues at stake, the importance of the discovery in resolving

those issues, the amount in controversy, and the weighing of burdens and benefits. See Fed. R.

Civ. P. 26; Trupp, 2019 U.S. Dist. LEXIS 87764 at 3-4. But, Rule 26 and the other discovery

rules are not a ticket to an unlimited, never-ending exploration of every conceivable matter that

captures an attorney’s interest. Vakharia v. Swedish Covenant Hosp., 1994 U.S. Dist. LEXIS

2712, *4-5 (N.D. Ill.1994). “Parties are entitled to a reasonable opportunity to investigate the

facts—and no more.” Id. “Experience has demonstrated that the discovery rules can be and

sometimes are abused, and there is presently an ongoing effort to curb such abuses.” Id. at 3.

The U.S. Supreme Court has cautioned that the requirement of Rule 26(b)(1), that the material

sought in discovery be “relevant,” should be firmly applied and that “judges should not neglect

their power to restrict discovery . . .” Herbert v. Lando, 441 U.S. 153, 177 (1979). Failure to

exercise this control results in needless and enormous costs to the litigants. Judicious use of the

court’s case-management authority during a litigation can help to check over-lawyering and


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limits on discovery “can effectively channel the efforts of counsel before excessive time and

resources are expended.” Montanez v. Simon, 755 F.3d 547, 552 (7th Cir. 2014).

       Judge Pryor explained in Trupp that “[d]iscovery must hew closely to matters specifically

described in the complaint lest discovery, because of its burden and expense, become the

centerpiece of litigation strategy.” 2019 U.S. Dist. LEXIS 87764 at 4. Judge Pryor also

explained that “Federal Rule 26(b), describing the scope and limits of discovery, was amended

effective December 1, 2015, to once again protect against over-discovery and to emphasize

judicial management of the discovery process.” Id. at 5.

       Consistent with the above principles, courts frequently restrict discovery based on

relevancy objections. See West v. Miller, 2006 U.S. Dist. LEXIS 56243, *6-8 (N.D. Ill. Aug. 11,

2006) (denying a motion to compel because party that filed the motion failed to meet its burden

to establish the information sought was relevant); see also Balderston v. Fairbanks Morse

Engine Div. of Coltec Indus., 328 F.3d 309, 320 (7th Cir. 2003); Diak v. Dwyer, Costello, and

Knox, P.C., 33 F.3d 809, 813 (7th Cir. 1994). And, where a party moves to compel production

of documents that party—including Plaintiff here—carries the initial burden of establishing that

the requested documents are relevant. West, 2006 U.S. Dist. LEXIS 56243 at 6-8; see also

Rennie v. Dalton, 3 F.3d 1100, 1110 (7th Cir. 1993) (holding that the district court did not abuse

its discretion in denying a motion to compel discovery for lack of a persuasive showing on

relevance). In fact, this Court correctly applied this standard when it denied Plaintiff’s motion to

compel in party and held that “Plaintiff has not established the relevance of the requested email

correspondence with these search terms.” Court’s January 30, 2020, Dkt. 114 at 18.

       Unless the requesting party can demonstrate the relevancy of the materials sought, judges

“should not hesitate to exercise appropriate control over the discovery process . . . ‘fishing



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expeditions’ in discovery are prohibited because the information being sought is ultimately not

‘relevant.’” BankDirect Capital Fin., LLC v. Capital Premium Fin., Inc., 2018 U.S. Dist. LEXIS

26386, *9 (N.D. Ill. 2018). Indeed, the Seventh Circuit has often said that “discovery is not to be

used as a fishing expedition.” E.E.O.C. v. Harvey L. Walner & Associates, 91 F.3d 963, 971-972

(7th Cir. 1996).

       Here, Plaintiff did not meet his burden to establish that “all Risk Convergence Reports”

from January 2014 through August 31, 2016” and “all” content in all such reports are relevant.

There is a reason for this: they are not. For this reason, and those set forth below, Defendant

respectfully requests that this Court reconsider its January 30, 2020 order, in which the Court

said it “tend[ed] to agree with the Plaintiff” that “all” reports and “all” of their content were

relevant and ordered Defendant to produce same (without any redactions or removing entirely

unrelated portions). Courts’ January 30, 2020 Order, Dkt. 114 at 7; Champion Pro Consulting

Group, 2014 U.S. Dist. LEXIS 165825 at 10 (“a request for all documents relating to a subject is

usually subject to criticism as overbroad since . . . all documents relate to others in some remote

fashion. Such a request unfairly places the onus of production on the recipient of the request and

not where it belongs—upon the person who drafted such a sloppy request.”).

       As explained above, this is a simple case. It involves a single mortgage loan and a single

plaintiff. It involves a limited number of issues and a very limited portion of Defendant’s

mortgage servicing operations. In fact, Plaintiff summarized this case as follows: whether

Defendant engaged in servicing misconduct with respect to “the misapplication of payments,

assessment and collection of unjust fees, mismanagement of borrower escrow accounts,

wrongful and deceptive collection activities, and manufactured states of default during and

immediately following a Chapter 13 bankruptcy proceeding.” Plf.’s Motion to Consolidate, Dkt.



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92 at 5. Plaintiff further confirmed the limited issues in this case when he argued that he needs

the Risk Convergence Reports because they allegedly contain information regarding “the

handling of loans involved in a Chapter 13 bankruptcy, the investigation and correction of

consumer credit reporting disputes, payment misapplications, and the assessment of

inappropriate fees and costs.” Dkt. 67 at 2.

       Judge Stinson similarly explained that the “[t]he gist of the narrative is that Mr. Todd

completed a Chapter 13 bankruptcy proceeding, and thereafter Ocwen engaged in practices that

violated the law, including charging improper fees, misapplying payments, mishandling funds,

increasing payments or balances owed without explanation or notice, attempting to collect

amounts not actually owed, failing to respond to requests for information or to correct errors,

failing to disclose information or provide required notices, and failing to provide a proper

accounting of the payment history.” Court’s February 6, 2020 Order, Dkt. 120 at 2.

       Plaintiff’s request for “all Risk Convergence Reports” and “all” content in such reports

far exceeds the scope of this case and seeks information far beyond that related to the mortgage

servicing conduct at issue as Plaintiff himself (and Judge Magnus-Stinson) summarized such

conduct. Put simply, every issue or potential issue Defendant ever identified or included in the

requested Risk Convergence Reports regarding its entire operation for a more than two and half

year period are not at issue here. A plain reading of the requested Risk Convergence Reports

confirms this. For instance, the Risk Convergence Reports include and/or identify issues—

entirely unrelated to those involved in this case, such as: “Identifying Title issues related to

Outstanding Lien, Legal Description, Chain of Title, Encroachment, etc.”; “Flood Zone

Validation”; “Third Party Liens in Texas”; “Skip Tracing Flag Issues”; “Hawaii Mediation

Correspondence”; “Ability to rapidly shift printers”; “Titling of Custodial Bank Accounts”; “VT



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Mediation Process”; “Nevada Mediation Requirement”; “Short Sale Workflow Queues”; “Flood

Policies on Multiple Structures”; “Condominium Master Policies Review”; “W-9 Form

Completion by Contractors”; “Anti Money Laundering Training”; and “Spanish Language on

Demand Letters.” There are other examples.

        The above issues are not relevant to the claims and defenses in this matter, which

Plaintiff summarizes as “the misapplication of payments, assessment and collection of unjust

fees, mismanagement of borrower escrow accounts, wrongful and deceptive collection activities,

and manufactured states of default during and immediately following a Chapter 13 bankruptcy

proceeding” and/or “the handling of loans involved in a Chapter 13 bankruptcy, the investigation

and correction of consumer credit reporting disputes, payment misapplications, and the

assessment of inappropriate fees and costs.” Dkt. 67 at 2; see also Sirazi v. Panda Express, Inc.,

2009 U.S. Dist. LEXIS 109558, *10 (N.D. Ill. Nov. 24, 2009) (denying motion to compel where

there was no basis in the record to support theory underlying discovery requests, reasoning:

“without some reason to conclude that the pond might be stocked, one cannot demand to

‘fish.’”).

        In fact, when the Court denied Plaintiff’s attempt to depose Defendant’s parent

company’s chief executive officer, it Court correctly explained that “Plaintiff seeks to broaden

the scope of this case by referring to other nationwide litigation that involves Defendant Ocwen

or its related companies; what the Plaintiff forgets, however, is that this case is limited to a

single-plaintiff consumer protection matter regarding the handling of Mr. Todd’s mortgage loan.

This is not a nationwide collective action . . .” Court’s December 13, 2019 Order, Dkt. 84 at 7.

Plaintiff, in his attempt to persuade the Court that “all” Risk Convergence Reports and “all” of

their content are relevant, improperly attempted to again broaden the scope of this case. In



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particular, Plaintiff argued he needed “all” reports and “all” of their content to establish

Defendant’s “knowledge of systematic problems with its servicing platform RealServicing.”

Dkt. 67 at 7.      But, Defendant’s knowledge of potential issues with its servicing platform

RealServicing that do not involve the mortgage servicing conduct at issue in this case are not

relevant or discovery under Rule 26(b)(1) of the Federal Rules of Civil Procedure. For instance,

even if Defendant identified or learned of potential issues with “W-9 Form Completion by

Contractors,” “Hawaii Mediation Correspondence,” “Third Party Liens in Texas,” “Anti Money

Laundering Training,” and “Spanish Language on Demand Letters,” Defendant’s knowledge or

identification of such issues has no bearing on this case. This case does not involve any of these

issues.     This especially is true as to “Third Party Liens in Texas,” “Hawaii Mediation

Correspondence,” or “Spanish Language on Demand Letters.” This case involves an English

speaking Indiana resident, Indiana mortgage loan, and Indiana property.

          Plaintiff’s request for “all” Risk Convergence Reports, and in turn, the Court’s order

compelling Defendant to produce “all” reports (without any redactions), results in Defendant

having to produce reports that identify every single issue and/or potential issue regarding its

entire operation over a more than two and half year period. This includes issues that have

nothing to do with this case. Rule 26(b)(1) and the amendments thereto directly seek to prohibit

this exact type of request and exercise in over-discovery. Trupp, 2019 U.S. Dist. LEXIS 87764

at 5 (Judge Pryor explained that “Federal Rule 26(b), describing the scope and limits of

discovery, was amended effective December 1, 2015, to once again protect against over-

discovery and to emphasize judicial management of the discovery process”); see also Champion

Pro Consulting Group, 2014 U.S. Dist. LEXIS 165825 at 10 (“a request for all documents

relating to a subject is usually subject to criticism as overbroad since . . . all documents relate to



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others in some remote fashion. Such a request unfairly places the onus of production on the

recipient of the request and not where it belongs—upon the person who drafted such a sloppy

request.”); Sirazi, 2009 U.S. Dist. LEXIS 109558 at 10 (denying motion to compel where there

was no basis in the record to support theory underlying discovery requests, reasoning: “without

some reason to conclude that the pond might be stocked, one cannot demand to ‘fish.’”).

       Defendant offers to send to the Court one report (or more) so it can view it (them) while

considering whether to require production of the entire document (and other ones like it).

       II.     Defendant Respectfully Requests that the Court Stay Production of the Risk
               Convergence Reports Pending Its Ruling on the Instant Motion to
               Reconsider.

       Requests for stays of a magistrate judge’s order usually occur where a party files an

objection to such order, pursuant to Rule 72 of the Federal Rules of Civil Procedure, with the

district court judge. Lineback v. Coupled Prods., LLC, 2012 U.S. Dist. LEXIS 89835 (N.D. Ind.

2012). This is not the case here. But, out of an abundance of caution, and to the extent

Defendant’s instant motion to reconsider does not automatically stay production of the requested

Risk Convergence Reports, Defendant respectfully requests a stay.

       Courts consider the following factors when determining whether to stay a magistrate

judge’s order: “(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” FDIC v. Fid. & Deposit Co. of Md., 2013

U.S. Dist. LEXIS 202806, *4 (S.D. Ind. 2013). Here, these factors favor staying Defending

having to produce the Risk Convergence Reports until the Court rules on Defendant’s instant

motion to reconsider.



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       Defendant, for the above reasons, respectfully contends it has “has made a strong

showing” that it “is likely to succeed” on its instant motion and that the Court erred when it

ordered Defendant to produce “all” Risk Convergence Reports and “all” portions of such reports

(without any redactions)—despite the fact that a plain reading of such reports confirms they

reference issues entirely unrelated to this case (i.e., “Third Party Liens in Texas”; “Hawaii

Mediation Correspondence”; “Ability to rapidly shift printers”; “Titling of Custodial Bank

Accounts”; “VT [Vermont] Mediation Process”; “Nevada Mediation Requirement”; “Short Sale

Workflow Queues”; “Flood Policies on Multiple Structures”; “Condominium Master Policies

Review”; “W-9 Form Completion by Contractors”; “Anti Money Laundering Training”; and

“Spanish Language on Demand Letters”).

       Serious, irreversible injury would also result if the Court does not stay production of the

Risk Convergence Reports. For instance, if Plaintiff sees “all” Requested Reports and “all”

portions of such reports, the Court could not “un-ring that bell” even if it later grants Defendant’s

instant motion to reconsider. Put another way, if the Court does not stay production but later

grants Defendant’s instant motion to reconsider in whole or in part, by then Plaintiff’s counsel

presumably would have reviewed the highly sensitive and irrelevant information in the requested

reports. Once Plaintiff’s counsel obtains the reports, including portions of such reports irrelevant

to the instant case, Plaintiff’s counsel likely will use such information to prosecute the other

cases he has pending against Defendant (and/or to solicit future clients to bring new lawsuits

against Defendant based on the irrelevant information in the reports). This, in effect, eviscerates

Defendant’s procedural right to ask the Court to reconsider its January 30, 2020 order.

       Finally, staying production of the Risk Convergence Reports until the Court rules on

Defendant’s instant motion to reconsider would not prejudice—much less “substantially”



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prejudice—Plaintiff. Plaintiff has not yet deposed Defendant’s 30(6) representative or any of its

current or former employees. In fact, none are scheduled. This motion will be fully briefed

pursuant to the deadlines set under the local rules by March 1, 2020.          Defendant’s 30(6)

representative’s deposition will not proceed before March 1, 2020—nor will the depositions of

any its current or former employees. Fact discovery does not close until June 15, 2020. This

leaves Plaintiff more than enough time after the Court rules on Defendant’s instant motion to

depose Defendant’s 30(b)(6) representative. Even if it was not, Defendant would agree to extend

the June 15, 2020 fact discovery deadline, if necessary. This eliminates any potential prejudice.

                                        CONCLUSION

       For the foregoing reasons, and the reasons set forth in Defendant’s response to Plaintiff’s

motion to compel, Dkt. 78, the Court should grant Defendant’s motion to reconsider and enter an

order denying Plaintiff’s motion to compel regarding the Risk Convergence Reports. The Court

should also enter an order, to the extent necessary, that stays Defending having to produce the

Risk Convergence Reports until the Courts rules on its instant motion to reconsider.

                                                  Respectfully submitted,

                                                  HINSHAW & CULBERTSON LLP



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                               CERTIFICATE OF SERVICE
        I, Joseph D. Kern, an attorney, certify that on February 9, 2020, caused to be served a
copy of the foregoing DEFENDANT OCWEN LOAN SERVICING, LLC’S MOTION TO
RECONSIDER THE MAGISTRATE JUDGE’S JANUARY 30, 2020 ORDER
REGARDING THE RISK CONVERGENCE REPORTS by: depositing same in the U.S.
Mail box at 151 North Franklin Street, Chicago, Illinois 60606, prior to 5:00 p.m., postage
prepaid; messenger delivery; UPS; facsimile transmitted from (312) 704-3001; email; or
electronically via the Case Management/Electronic Case Filing system (“ECF”), as indicated
below.

       ECF
       Facsimile
       UPS
       U.S. Mail
       E-Mail
       Messenger Delivery


To: All Parties of Record



                                               /s/ Joseph D. Kern
                                               Joseph D. Kern




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